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                           EXHIBIT4
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                                                   LAW OFFICES




DAVID Z . CHESNOFF9, CHARTERED     AN ASSOC IATION OF PROFESSIONAL COR!"ORATI O NS
                                                                                                TELEPH O NE
RICHARD A. SCHONFELD, CHARTERED
                                         520 SOU TH FOURTH STREET                              (702) 384-5S63


ROBERT z . DEMARCO                    LAS VEGAS, NEVADA B9101-6593                                  FAX
                                                                                               (702) S98-1425




                                              · August 28, 2024

   Via U.S. Mail and E-mail


   Leo J. Wise
   Principal Senior Assistant Special Counsel
   U.S. Department of Justice
   950 Pennsylvania Avenue, NW
   RoomB-200
   Washington, DC 20530
   LJW@usdoi.gov

           Re:       United States v. Alexander Smirnov, 2:24-cr-00091-ODW

   Dear Mr. Wise:

           I write regarding various recent news accounts of Hunter Biden (the defendant in two

   separate federal cases) soliciting United States government assistance during the time when

   President Biden, Hunter's father, served as Vice President of the United States. Specifically, after

   President Biden abandoned his reelection bid in 2024, the State Department released to the New

   York Times (in response to a request from 2021) the United States Ambassador in Rome's written

   response to a letter that Hunter Biden evidently sent to the Italian Embassy in 2016.

           According to news accounts published in the New York Times and reprinted by CNN on

   August 13, 2024, Hunter Biden's letter (which, itself, has not been released) "asked for help from

   the US State Department as he soi1ght to make a deal for a Ukrainian gas company in Italy while

   his father was vice president . . .. According to the Times, Hunter Biden sent at least one letter to

   Ill
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     the US ambassador to Italy in 2016 on behalf of the company, Burisma, where he was a board

     member at the time. The outreach, a businessman involved in the project told the Times, came

     when the company was having difficulty securing regulatory approval for a geothermal project in

     Tuscany." CNN, Hunter Biden asked State Dept. for Help Securing Burisma Project in 2016,

     https ://www.cnn.com/2024/08/ l 3/politics/hunter-biden-state-department-help-burisma-project

     (Aug. 13, 2024).

                    ·While we have no doubt that the government will comply with its discovery obligations

     (including its obligation to produce all exculpatory and impeachment evidence under Brady v.

     Maryland, 373 U.S. 83 (1963), -and its progeny), Mr. Smirnov specifically requests- in view of

     both the foregoing disclosures and of the Bm·isma-related allegations in the present Indictment

     against Mr. Smirnov-that your office review the files referenced in the foregoing disclosures and

     timely disclose to us any discoverable information, including (but not limited to) exculpatory or

     impeaching evidence related to Hwiter Biden's (or, Mr. Smirnov's) work on behalf ofBurisma.

                    Thank you for your attention to this matter. Please contact me with any questions.

                                                                               Sincerely,

                                                                              CHESNOFF & SCHONFELD
